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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


 UNITED STATES OF AMERICA

                          v.
                                                               Case No. 1:18-CR-83 (TSE)
 PAUL J. MANAFORT, JR.,

                                      Defendant.


    GOVERNMENT’S STATUS REPORT REGARDING MOTION TO REVOKE OR
     REVISE DEFENDANT PAUL J. MANAFORT, JR.’S CURRENT ORDER OF
             PRETRIAL RELEASE IN DISTRICT OF COLUMBIA

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

submits this status report notifying the Court that the government filed a motion to revoke or revise

the order in United States v. Manafort, 1:17-CR-201 (D.D.C.) (ABJ) (Doc. 9) authorizing the

pretrial release of defendant Paul J. Manafort, Jr. (Manafort) to the high-intensity supervision

program in the District of Columbia. A copy of the government’s filing is attached hereto as

Exhibit 1. See Manafort, 1:17-CR-201 (D.D.C.) (Doc. 315).

       By way of background, on May 9, 2018, Manafort filed a renewed motion to reconsider

the conditions of his release in the District of Columbia. (Doc. 291). In connection with this filing,

the government filed Exhibit 1 as its supplemental response. As described more fully in Exhibit 1,

there is probable cause to believe that Manafort has violated 18 U.S.C. § 1512(b)(1) by attempting

to tamper with potential witnesses in the District of Columbia case while on pretrial release. The

alleged obstructive conduct relates to allegations in the District of Columbia Superseding

Indictment that Manafort violated the Foreign Agents Registration Act, 22 U.S.C. § 611 et seq.,

which is not part of the charged conduct in the Eastern District of Virginia. The government,
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however, provides this notice to the Court as the conduct may independently implicate Manafort’s

conditions of release in this district. *



                                                    Respectfully submitted,

                                                    ROBERT S. MUELLER III
                                                    Special Counsel



Dated: June 4, 2018                         By:       /s/ Andrew Weissmann
                                                    Andrew Weissmann
Uzo Asonye                                          Greg D. Andres
Assistant United States Attorney                    Special Assistant United States Attorneys
Eastern District of Virginia
                                                    U.S. Department of Justice
                                                    Special Counsel’s Office
                                                    950 Pennsylvania Avenue NW
                                                    Washington, D.C. 20530
                                                    Telephone: (202) 616-0800

                                                    Attorneys for the United States of America




        *
         “Defendant may not violate federal, state, or local law while on release.” March 9, 2018
Order of Release, United States v. Manafort, 1:18CR83 (E.D. Va.) (TSE) (Doc. 25).
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 4th day of June, 2018, I will cause to be filed electronically the

foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification

of such filing (NEF) to the following:


Thomas E. Zehnle (VA Bar No. 27755)
Law Office of Thomas E. Zehnle
601 New Jersey Avenue, N.W., Suite 620
Washington, D.C. 20001
tezehnle@gmail.com

Jay R. Nanavati (VA Bar No. 44391)
Kostelanetz & Fink LLP
601 New Jersey Avenue, N.W., Suite 620
Washington, D.C. 20001
jnanavati@kflaw.com




                                                     /s/ Andrew Weissmann
                                                     Andrew Weissmann
                                                     Special Assistant United States Attorney
                                                     Senior Assistant Special Counsel
                                                     U.S. Department of Justice
                                                     Special Counsel’s Office
                                                     950 Pennsylvania Avenue N.W.
                                                     Washington, D.C. 20530
                                                     Telephone: (202) 616-0800
                                                     Fax: None
                                                     E-mail: AAW@usdoj.gov

                                                     Attorney for the United States of America
